          Case 2:17-bk-13038-BR Doc 10 Filed 07/05/17 Entered 07/05/17 21:45:16                                              Desc
                              Imaged Certificate of Notice Page 1 of 3
                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 17-13038-BR
Brian Adam Thompson                                                                                        Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-2                  User: admin                        Page 1 of 1                          Date Rcvd: Jul 03, 2017
                                      Form ID: 318                       Total Noticed: 18


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 05, 2017.
db             +Brian Adam Thompson,    1844 North Harvard Boulevard, #10,    Los Angeles, CA 90027-3895
smg             Los Angeles City Clerk,    P.O. Box 53200,   Los Angeles, CA 90053-0200
37667631       +Bleier & Cox,   16130 Ventura Boulevard, Suite 620,     Encino, CA 91436-2568
37667635       +Equifax- Credit Bureau,    P.O. Box 740241,    Atlanta, GA 30374-0241
37667636       +Experian - Credit Bureau,    Corporate Headquarters,    475 Anton Boulevard,
                 Costa Mesa, CA 92626-7037
37667639       +MRS Associate, Inc,   1930 Olney Avenue,    Cherry Hill, NJ 08003-2016
37667641       +Superior Court of California,    Case# 16A20940,    9425 Penfield Avenue, Suite 1200,
                 Chatsworth, CA 91311-6516
37667642       +Trans Union - Credit Bureau,    P.O. Box 2000,    Chester, PA 19022-2000

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QSSLESLIE.COM Jul 04 2017 00:53:00       Sam S Leslie (TR),    3435 Wilshire Blvd., Suite 990,
                 Los Angeles, CA 90010-1998
smg             EDI: EDD.COM Jul 04 2017 00:53:00      Employment Development Dept.,     Bankruptcy Group MIC 92E,
                 P.O. Box 826880,    Sacramento, CA 94280-0001
smg             EDI: CALTAX.COM Jul 04 2017 00:53:00      Franchise Tax Board,     Bankruptcy Section MS: A-340,
                 P.O. Box 2952,   Sacramento, CA 95812-2952
37667632        EDI: CAPITALONE.COM Jul 04 2017 00:58:00       Capital One,   15000 Capital One Drive,
                 Richmond, VA 23238
37667634       +EDI: CHASE.COM Jul 04 2017 00:58:00      Chase,    P.O. Box 94014,    Palatine, IL 60094-4014
37667633       +EDI: CHASE.COM Jul 04 2017 00:58:00      Chase,    Attention: Bankruptcy Department,
                 P.O. Box 15298,    Wilmington, DE 19850-5298
37667637       +EDI: CALTAX.COM Jul 04 2017 00:53:00      Franchise Tax Board,
                 Attention: Bankruptcy Department,    P.O. Box 942857,    Sacramento, CA 94257-0001
37667638       +EDI: IRS.COM Jul 04 2017 00:58:00      Internal Revenue Service,
                 Attention: Bankruptcy Department,    P.O. Box 7346,    Philadelphia, PA 19101-7346
37667640       +EDI: NAVIENTFKASMSERV.COM Jul 04 2017 00:53:00       Navient,    P.O. Box 9500,
                 Wilkes Barre, PA 18773-9500
37667643       +E-mail/Text: USTPregion16.LA.ECF@USDOJ.GOV Jul 04 2017 00:55:52        United States Trustee,
                 Los Angeles Division,    915 Wilshire Boulevard, Suite 1850,     Los Angeles, CA 90017-3560
                                                                                                TOTAL: 10

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 05, 2017                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 3, 2017 at the address(es) listed below:
              Barry E Borowitz   on behalf of Debtor Brian Adam Thompson notices@blclaw.com,
               ecf@blclaw.com;borowitzclark1@gmail.com
              Sam S Leslie (TR)   sleslie@trusteeleslie.com,
               sleslie@ecf.epiqsystems.com;trustee@trusteeleslie.com
              United States Trustee (LA)   ustpregion16.la.ecf@usdoj.gov
                                                                                             TOTAL: 3
     Case 2:17-bk-13038-BR Doc 10 Filed 07/05/17 Entered 07/05/17 21:45:16                                                       Desc
                         Imaged Certificate of Notice Page 2 of 3
Information to identify the case:
Debtor 1              Brian Adam Thompson                                                   Social Security number or ITIN   xxx−xx−9541
                      First Name   Middle Name   Last Name                                  EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                                    Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                            EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Central District of California

Case number: 2:17−bk−13038−BR



Order of Discharge − Chapter 7                                                                                                       12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Brian Adam Thompson
            [include all names used by each debtor, including trade names, within
           the 8 years prior to the filing of the petition]

           Debtor 1 Discharge Date: 7/3/17



           Dated: 7/3/17
                                                                                    By the court: Barry Russell
                                                                                                  United States Bankruptcy Judge




Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                                      This order does not prevent debtors from paying
and it does not determine how much money, if                                        any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                                debts according to the reaffirmation agreement.
                                                                                    11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                           Most debts are discharged
attempt to collect a discharged debt from the                                       Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                          all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                                     personal liability for debts owed before the
or otherwise try to collect from the debtors                                        debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                                    Also, if this case began under a different chapter
in any attempt to collect the debt personally.                                      of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                                    to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                                         are discharged.

However, a creditor with a lien may enforce a                                       In a case involving community property: Special
claim against the debtors' property subject to that                                 rules protect certain community property owned
lien unless the lien was avoided or eliminated.                                     by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                                       not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.
                                                                                                                                   8/AUT
                                                                                                    For more information, see page 2 >
Official Form 318−CACBdodb/CACodsc                            Order of Chapter 7 Discharge                              page 1
   Case 2:17-bk-13038-BR Doc 10 Filed 07/05/17 Entered 07/05/17 21:45:16                               Desc
                       Imaged Certificate of Notice Page 3 of 3




Some debts are not discharged                                Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:               agreement are not discharged.

     ♦ debts that are domestic support                       In addition, this discharge does not stop
       obligations;                                          creditors from collecting from anyone else who is
                                                             also liable on the debt, such as an insurance
                                                             company or a person who cosigned or
     ♦ debts for most student loans;                         guaranteed a loan.


     ♦ debts for most taxes;
                                                              This information is only a general summary
     ♦ debts that the bankruptcy court has                    of the bankruptcy discharge; some
       decided or will decide are not discharged              exceptions exist. Because the law is
       in this bankruptcy case;                               complicated, you should consult an
                                                              attorney to determine the exact effect of the
                                                              discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318−CACBdodb/CACodsc            Order of Chapter 7 Discharge                    page 2
